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                        UNITED STATES GOVERNMENT
                        NATIONAL LABOR RELATIONS BOARD
                        REGION 29
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                                                                                      April 20, 2022


    The Honorable Diane Gujarati
    United States District Court
    Eastern District of New York
    225 Cadman Plaza East
    Brooklyn, NY 11201


                                                   Re:     Drew-King v. Amazon.com Services LLC
                                                           Case No. 1:22-cv-01479-DG-SJB

    Dear Judge Gujarati:

          Enclosed please find a copy of the Decision and Recommended Oder of the
    Administrative Law Judge of the National Labor Relations Board (the Board) issued in
    Case No. 29-CA-261755 (Decision). 1

           On March 17, 2022, the Petitioner filed the instant Petition for Injunctive Relief
    pursuant to Section 10(j) 2 of the National Labor Relations Act (the Act) with the Court,
    which is currently pending before the Court.

           On April 18, 2022, Administrative Law Judge (ALJ) Benjamin W. Green issued
    his Decision in the underlying administrative unfair labor practice proceeding finding that
    Amazon.com Services LLC (Respondent) unlawfully discharged 3 Gerald Bryson in
    1
        Copies of the Decision have been served on the parties by the Board’s Division of Judges.
    2
        29 U.S.C. 160(j).
    3
      ALJ Green found it unnecessary to rule on the allegation that Respondent unlawfully suspended Bryson in
    violation of the Act and thus, ordered no remedy related to the suspension allegation (ALJ Decision p. 20).
    In accordance with ALJ Green’s Decision regarding the suspension allegation, Petitioner hereby withdraws
    the proposed remedies related to Bryson’s suspension which are set forth in paragraphs 1(b) and 2(b) of the
    Proposed Order. (ECF No. 1 at p. 6-7). Judge Green’s decision to not make a finding on the suspension
    allegation does not in any way weaken Petitioner’s contention that there is reasonable cause to believe that
    Bryson’s discharge is unlawful. Although related in so far as they arise out of the same underlying incident,
    the Judge analyzed the suspension and discharge allegations independently. In that regard, the Judge found
    ample evidence of an unlawful discharge independent from the suspension, relying on his credibility
    determinations, the implausibility of Respondent’s defense and the overwhelming evidence of disparate

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    retaliation for his protected concerted activity in violation of Section 8(a)(1) of the Act (29.
    U.S.C. 158(a)(1)). 4

           To remedy Respondent’s violation of the Act, ALJ Green ordered that Respondent
    cease and desist from discharging employees because of their protected concerted activity,
    offer Bryson reinstatement to his former position and make Bryson whole, including by
    compensating him for any loss of earnings or other benefits resulting from Respondent’s
    unlawful discriminatory discharge of Bryson. 5

            Judge Green’s finding that Respondent unlawfully discharged Gerald Bryson
    strongly supports the first prong of the 10(j) analysis that is before the Court, namely that
    Petitioner has reasonable cause to believe that Respondent violated the Act. 6 In concluding
    that Respondent harbored discriminatory motive, ALJ Green made credibility
    determinations in favor of Petitioner, relied on considerable record evidence showing that
    Respondent disparately treated Bryson and failed to conduct a good-faith investigation into
    the incident underlying his discharge. Accordingly, Petitioner respectfully requests that
    Your Honor consider Judge Green’s Decision as additional persuasive evidence that
    Petitioner has reasonable cause to believe that Respondent violated the Act by discharging
    Bryson, satisfying the first prong in the injunctive relief analysis.

            Injunctive relief is still imperative despite Judge Green’s favorable Decision in the
    underlying administrative unfair labor practice case because the Judge’s Decision is a
    recommended order to the full Board and as such, has no final force or effect. 7 Many
    stages in the administrative proceeding remain before it is final, including the filing of
    exceptions, response briefs and reply briefs. Furthermore, Respondent’s representative
    Kelly Nantel has represented in the Washington Post that Respondent intends to appeal the
    ALJ’s Decision to the Board. Thus, there is an ongoing need for injunctive relief. 8

            Based on the above, as it is likely that the Board will require a considerable period
    of time to review the extensive administrative record, analyze the ALJ’s Decision, consider
    any exceptions to the ALJ’s findings, and issue its final Order, injunctive relief remains


    treatment. Ultimately, the Judge declined to rule on the suspension allegation because it “would add little to
    the remedy.” Thus, the ALJ’s treatment of the suspension allegation has no effect on Petitioner having
    satisfied her burden under the first prong in the injunctive relief analysis as it relates to the discharge
    allegation.
    4
        ALJ Decision, p. 20.
    5
        ALJ Decision, pp. 21-23.
    6
     Hoffman v. Inn Credible Caterers, Ltd., 247 F.3d 360, 367 (2d Cir. 2001); Silverman v. J.R.L. Food Corp.,
    196 F.3d 334, 337-38 (2d Cir. 1999); Seeler v. Trading Port, Inc., 517 F.2d 33, 37, n.7 (2d Cir. 1975).
    7
     See, Schaub v. West Michigan Plumbing & Heating, Inc., 250 F.3d 962, 968 (6th Cir. 2001); Sharp v. Webco
    Indus., 225 F.3d 1130, 1136 (10th Cir. 2000).
    8
     Hoffman v. Inn Credible Caterers, Ltd., 247 F.3d 360, 365 (2d Cir. 2001) (“injunctive relief is appropriate
    “until the Board renders its final determination”).

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    imperative. A final Board Order is months or, more likely, years away. Accordingly,
    absent prompt injunctive relief, a final Board Order would be rendered meaningless, and
    Amazon would benefit from the harm done to employees’ statutory rights, which at that
    point will be irreparable.



                                               Very truly yours,

                                               __/s/ Evamaria Cox___________________
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    cc: All counsel of record (via ECF)




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